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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




          -------------------------------:
                                         :
          INTERSECTIONS INC, et al.,     :
                         Plaintiffs,     :
                                         :
           -vs-                          :            Case No. 1:09-cv-597
                                         :
                                         :
          JOSEPH C. LOOMIS, et al.,      :
                         Defendants.     :
                                         :
          -------------------------------:




                                     HEARING ON MOTIONS


                                      December 4, 2009


                         Before:   Mag. Judge Theresa C. Buchanan




          APPEARANCES:

          Michelle J. Dickinson, Counsel for the Plaintiffs

          Ellis Bennett, Counsel for the Defendants




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     1                NOTE:   The case is called to be heard at 10:27 a.m.

     2    as follows:

     3                THE CLERK:   Intersections Incorporated, et al.

     4    versus Joseph C. Loomis, et al, case number 09-cv-527.

     5                MS. DICKINSON:     Good morning, Your Honor.               Michelle

     6    Dickinson for the plaintiffs.

     7                THE COURT:   Good morning.

     8                MS. BENNETT:     Good morning, Your Honor.            Ellis

     9    Bennett for the defendants.

    10                THE COURT:   All right.     Well, in a change of events,

    11    you have decided to represent this defendant and the other

    12    counsel dropped out, huh?

    13                MS. BENNETT:     We are now lead counsel, Your Honor.

    14                THE COURT:   Okay.    Well, that's pretty brave of you.

    15                This comes on your motion for sanctions.               I do have

    16    a question though for you.       When did you figure out that all

    17    of these documents were missing from the production of--                     I am

    18    not talking about Mrs. Loomis, but Mr. Loomis' production and

    19    the company's production.

    20                When did you first figure out all these were

    21    missing?   Because I know that you had the discussion with him

    22    I think on the 24th, and you filed your motion that day.

    23                MS. DICKINSON:     Right.   Your Honor, we were going

    24    through his documents and we determined, I think the day

    25    before we had the talk with opposing counsel, that there were




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     1    60,000 images missing.      You can review them without knowing

     2    that there are images missing.

     3                So, when we found that out, we approached opposing

     4    counsel.   But there wasn't much that could be done at that

     5    point.   60,000 is a lot of images to have to review.

     6                THE COURT:   So, they have now claimed that they

     7    produced these documents as of I think two days ago?

     8                MS. DICKINSON:    That's correct.

     9                THE COURT:   Have you had an opportunity to look at

    10    them?

    11                MS. DICKINSON:    We have had an opportunity to load

    12    them, and we have had an opportunity to have our IT people

    13    confirm that they are in there.        But we have been in

    14    depositions for the past three solid weeks living out of a

    15    suitcase down here.

    16                THE COURT:   Do you think that there is anything that

    17    you are missing at this point?

    18                MS. DICKINSON:    Well, you mean with respect to Joe

    19    Loomis, or with respect to Jenni Loomis?           Because we are

    20    certainly--

    21                THE COURT:   Both at this point.

    22                MS. DICKINSON:    Yes, absolutely.

    23                THE COURT:   Because she is, I understood that she

    24    had produced her documents by this point as well.

    25                MS. DICKINSON:    Right.    And actually maybe "missing"




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     1    is a mischaracterization on my part.         Jenni Loomis has

     2    provided us with a .pst file of--        Let's see, I am sorry.

     3    Over 19,000 pages of e-mails.       That is not a responsive

     4    production.

     5                THE COURT:   19,000 pages?

     6                MS. DICKINSON:    19,000 pages of e-mails.             Your

     7    Honor, I think what is important for the Court to understand

     8    that has not come out in the papers is that both before the

     9    order was issued by the Court and after, the defendant Joe

    10    Loomis has taken a stance, I believe this is correct, and I

    11    apologize if I am mischaracterizing anything, but my

    12    understanding from counsel is that Mr. Loomis has taken the

    13    stance that he is going to control electronic discovery in his

    14    case.

    15                And so, there is not review being--

    16                THE COURT:   What do you mean by that?

    17                MS. DICKINSON:    He has his own electronic discovery

    18    vendor in Canada.

    19                THE COURT:   Right.

    20                MS. DICKINSON:    And he--

    21                THE COURT:   That's not necessarily unusual.

    22                MS. DICKINSON:    No, but he is the one who is

    23    marshalling the evidence.      He is sending the documents to

    24    them.   And the documents are not being reviewed by counsel.

    25                So, it's almost like dealing with a pro se opponent




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     1    on the e-discovery.

     2                 So, Jenni Loomis provided her documents without

     3    opposing counsel having the opportunity, or is my

     4    understanding, to review them before they were produced to us.

     5    We have an entire .pst file.       We have looked at a small

     6    portion of those documents since we have gotten them, and they

     7    are not all responsive.       They are e-mails about her engagement

     8    rings--

     9                 THE COURT:    You mean she just did a data dump?

    10                 MS. DICKINSON:    Yes, Your Honor, that's correct.

    11                 THE COURT:    Okay.

    12                 MS. DICKINSON:    And we are now a week from the end

    13    of discovery.

    14                 THE COURT:    All right.   Anything else?

    15                 MS. DICKINSON:    I have lots of things, Your Honor,

    16    but I think you probably don't need to hear from me at this

    17    point.

    18                 THE COURT:    Okay.   Well, I may come back to you.

    19    But let me--    I am sorry, go ahead.        Did you have something

    20    else you wanted to say?

    21                 MS. DICKINSON:    Well, Your Honor, I believe that at

    22    this point in this case the issue before the Court is

    23    sanctions.    It's not--    There is no dispute as to whether

    24    opposing, or whether, I am sorry, the defendants in the case

    25    have violated the Court's order.




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     1                THE COURT:    Well, as to Mr. Loomis' production, you,

     2    at this point you don't know whether you have everything or

     3    not, is that a fair statement?

     4                MS. DICKINSON:     I think, I think we probably do have

     5    everything.

     6                THE COURT:    Okay.

     7                MS. DICKINSON:     I mean, it is hard to know.               But I

     8    think that we have a complete production.              We just got the

     9    60,000 images to review in the last two days.

    10                So, I--   Certainly they violated the order, but I

    11    think that's not what you are looking for at this point.

    12                THE COURT:    Well, maybe, maybe not.           Let me hear

    13    from counsel for the defendants.

    14                MS. DICKINSON:     Okay.   Thank you, Your Honor.

    15                THE COURT:    What is going on here if you are not

    16    seeing the production before you are turning it over to

    17    counsel?

    18                MS. BENNETT:     Your Honor, let me explain.               And I

    19    don't think that's entirely an accurate description.                   We

    20    became involved in the case actively as, essentially, lead

    21    counsel November 4.      And we have come into the case, I think

    22    discovery ends next Friday.       So, it has been quite a tight

    23    schedule for us.

    24                However, Arizona counsel, I can't speak for how or

    25    anything they did as far as review of the documents before we




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     1    became involved in the case.

     2                THE COURT:   Well, I don't think--           If you became

     3    involved November 2, that was after the last, that was around

     4    the time of the last hearing, was it not?

     5                MS. BENNETT:    November 4, Your Honor, which was

     6    the--   October 30, Your Honor, was the last hearing and--

     7                THE COURT:   Right, but we are not talking about what

     8    was produced by an Arizona counsel.         We are talking about what

     9    was produced by your client after you were lead counsel.

    10                MS. BENNETT:    Well, actually, Your Honor, the

    11    production at issue, the initial production was before we were

    12    lead counsel.    Arizona counsel was still involved in the case

    13    and handling the industry.

    14                THE COURT:   I am talking about what you gave within

    15    the ten days or so that I ordered that the documents be

    16    produced.

    17                MS. BENNETT:    Your Honor, Arizona counsel --

    18                THE COURT:   I go back to the dates--

    19                MS. BENNETT:    -- still was handling the document

    20    production at that point.

    21                THE COURT:   Okay.   All right.       What about Mrs.

    22    Loomis though, you were clearly involved at that point.

    23                MS. BENNETT:    Your Honor, we were involved--                The

    24    situation with that is Mrs. Loomis through Arizona counsel

    25    produced a file, I believe on October 30.              Or November 6,




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     1    rather, I am sorry.      No, October 30, the same day of the

     2    hearing, I believe.      And if I am inaccurate with that, I will

     3    ask counsel to correct me.

     4                On November 8 during the deposition of Jenni Loomis,

     5    it came to our attention that the --

     6                THE COURT:    The e-mails were missing.

     7                MS. BENNETT:    -- e-mails were missing.            I don't

     8    think Jenni Loomis realized it.       I don't think she knew how to

     9    download the documents from her computer.

    10                THE COURT:    Right.   And I understand it went back to

    11    the expert.    The expert redid this and sent it out.                  But they

    12    didn't come through you?      You have never looked at it?

    13                MS. BENNETT:    Your Honor, they came, it came in

    14    after this motion had come to light.         And actually, we think

    15    that--   We had conversations with Jenni Loomis, we think it is

    16    responsive based on our conversations with her.

    17                We did not have an opportunity to look at it given

    18    the short time schedule, and counsel wanted it after having

    19    filed this motion.     So, we produced it to them.

    20                I mean, their discovery responses or requests are

    21    quite broad, Your Honor.      Number 16, for instance, asks to the

    22    extent not already covered above, all documents that support

    23    any position you have taken or intend to take in this action.

    24                I agree, if there are personal e-mails in there,

    25    those would not be responsive.       However, given the short time




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     1    frame--    Yeah, I mean, it was represented to us that it was

     2    all business-related e-mails.       She has a separate account,

     3    e-mail account for personal matters.         So, it was our

     4    understanding that it was responsive.          And counsel had filed

     5    this motion, and we produced it.

     6                 Also, we brought up to counsel when they first

     7    raised the overly broad production issue that we could get a

     8    team of contract attorneys immediately.           We have our

     9    e-discovery vendor here with us today who could get those

    10    attorneys and cull it for anything that counsel thought was

    11    not responsive.    And we made that offer last Wednesday, the

    12    day after the motion was filed.       And we haven't received a

    13    response to that.

    14                 THE COURT:    Well, I don't know that that--               All

    15    right.    Anything else?

    16                 MS. BENNETT:   I would just like to point out, Your

    17    Honor, Jenni Loomis did not realize she had not produced the

    18    documents.    She sent another disk and I think made the same

    19    good faith mistake, again producing a file without the

    20    e-mails.

    21                 And so, that was the cause for the delay.                 She had,

    22    finally the third time, and I think she--

    23                 THE COURT:    I guess also what I am trying to figure

    24    out is why it took so long.      I mean, they notified you of that

    25    lack of production, and that was on the 16th I believe it was,




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      1   but you didn't even produce the documents until after the

      2   motion was filed.

      3               MS. BENNETT:     Your Honor, the dates, the date we

      4   were notified was November 8.       We received a disk from her on

      5   November 16.     And again, that was missing the e-mails.                  And we

      6   received another disk two days later that actually included

      7   the e-mails.

      8               They had to be sent to the discovery vendor to be

      9   Bates stamped.     We got them back the same day they filed their

     10   motion, and gave them to counsel at 8 o'clock the next

     11   morning.    That was the timeline.

     12               THE COURT:    Okay.    Thank you.

     13               MS. BENNETT:     Thank you, Your Honor.

     14               THE COURT:    Did you have anything else to add?

     15               Did you have anything else to add?

     16               MS. DICKINSON:     I am sorry, Your Honor.             Your Honor,

     17   I have simply, I guess--      You know, we find ourselves in the

     18   unenviable position of being in front of you this morning.                       I

     19   wish that things were going better.          But I would say that it

     20   is refreshing to have this opposing counsel on the other side

     21   of the table from us.      And I do think that they find

     22   themselves in the unenviable position of representing a client

     23   that is difficult to represent.

     24               THE COURT:    Yes.    All right.

     25               MS. DICKINSON:     That said, I have to protect my




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      1   client.

      2               THE COURT:    I understand.

      3               MS. DICKINSON:    And we are having a hard time

      4   preparing for trial and getting exhibit lists ready for less

      5   than two weeks from now.      We haven't had these documents for

      6   depositions.     And I think that something should be done.

      7               THE COURT:    All right.    Well, the problem I have got

      8   here is that--     Let me back up a little bit and say that as

      9   far as your opposition is concerned, it was received after 5,

     10   which is definitively technically a violation, but I saw it

     11   the next morning, you saw it the next morning in time to file

     12   a reply.    So, I've accepted your opposition and I looked at

     13   it.

     14               I don't believe that technically a meet and confer

     15   was required because your clients' failure to produce the

     16   documents was a violation of my order that I previously

     17   entered compelling discovery.

     18               If we were dealing with Arizona counsel here, quite

     19   frankly, I don't think I would hesitate to impose sanctions.

     20   But I think that you are trying to make your clients produce

     21   what they have to produce.

     22               I don't necessarily believe your clients' version of

     23   these being inadvertent mistakes or that they didn't know what

     24   was going on.     But what I am faced with at this point is the

     25   fact that plaintiffs' counsel has the documents.




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      1               So, I think imposing the kind of sanctions that I

      2   might normally impose and that you are requesting I think at

      3   this point would not be appropriate.          But we are going to have

      4   to do some things to remedy the situation.

      5               Now, as to Mrs. Loomis' files, you are going to have

      6   to correct this data dump immediately.           And that means no

      7   later than Wednesday I want you to produce documents to the

      8   plaintiff that correspond to the requests that they have made.

      9   I want you to identify to them by Bate number, Bates numbers

     10   which documents are responsive to which requests.

     11               And I want your expert to go through them prior to

     12   Wednesday and cull out everything that is not responsive.

     13               I am going to assume that everything else from Mr.

     14   Loomis is there.     Counsel thinks it is, and we are going to

     15   assume it is at this point.       If it's not, then I am going to

     16   impose sanctions, I am not going to fool around with this

     17   anymore.

     18               Now, I am also going to impose costs for this motion

     19   because they shouldn't have had to go--            They, as you know,

     20   had to file this motion, which they had to file no matter what

     21   because of Mrs. Loomis' failure to produce, even if they had

     22   Mr. Loomis' documents that were missing.

     23               And I still have not gotten anything from you, I

     24   think, about your costs and fees with regard to the last

     25   motion and everything else that I listed there.




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      1                MS. DICKINSON:     Yes, we did file that.

      2                THE COURT:    So, I mean, I know you are busy and if

      3   you want to get--

      4                MS. DICKINSON:     No, we did file that, Your Honor.

      5                THE COURT:    You did?    Okay, I haven't seen it.

      6                MS. DICKINSON:     We filed.      And they actually filed

      7   and opposition --

      8                THE COURT:    I didn't see that.         When did that come

      9   in?

     10                MS. DICKINSON:     --saying that our fees are

     11   outrageous and--

     12                THE COURT:    When did that come in?            I didn't see

     13   that.

     14                MS. DICKINSON:     We filed it Tuesday before

     15   Thanksgiving.

     16                THE COURT:    Okay.   We will definitively pull that

     17   out.

     18                MALE VOICE:    I have the document here, Your Honor.

     19                THE COURT:    No, that's all right, we will pull it

     20   up.     I am sure it is there, we just missed it.               I am sorry.

     21                MALE VOICE:    It is document 49.

     22                MR. BENNETT:     It was the same day, the same day.

     23                THE COURT:    Okay, I will take a look at that.                   And

     24   file costs and fees as to this.

     25                MS. DICKINSON:     We did, Your Honor.            We filed the,




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      1   we filed a statement, that was our understanding of what you

      2   wanted.    And then defendants filed a--

      3               THE COURT:    Well, I haven't looked at that.

      4               MS. DICKINSON:    Okay.

      5               THE COURT:    I am talking about your costs and fees

      6   with regard to this motion, file a statement as to that

      7   because I am going to grant that as well.

      8               Now, I am assuming though that you can get through

      9   all of your documents by the discovery cutoff, is that

     10   correct?

     11               MS. DICKINSON:    You mean that we can, if they give

     12   us the documents next Wednesday, that we can have--

     13               THE COURT:    Yes, right, you will be ready for the

     14   final pretrial, is that correct?

     15               MS. DICKINSON:    I think we have no choice.                I will

     16   tell you, Your Honor, if you are considering extending a

     17   deadline, I don't want a deadline extended.               I would ask that

     18   the Court not do that.      I would rather muddle through.

     19               THE COURT:    Well, I think that--          I think it would

     20   be problematic to extend it at this point.              I just wanted to

     21   make sure that you would be able to get through all the

     22   documents and get ready for the pretrial conference, that's

     23   the only thing I was concerned with.

     24               MS. DICKINSON:    We will make do.

     25               THE COURT:    Okay.




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      1               MS. DICKINSON:     Thank you, Your Honor.

      2               THE COURT:    All right.    So, anything else?

      3               MS. BENNETT:     Your Honor, if I may add, and we have

      4   been trying to work through the issues, there are some issues

      5   with opposing counsel's document production as well in terms

      6   of--

      7               THE COURT:    Well, I am not going to hear that, I

      8   don't have a motion in front of me.

      9               MS. BENNETT:     I understand, Your Honor.             The only

     10   point it goes to is the extension of the deadline.

     11               THE COURT:    Well, I am not going to do that.

     12               MS. BENNETT:     I understand, Your Honor.

     13               THE COURT:    We are all dealing here today with your

     14   clients' problem.     And if you had a problem with their

     15   production, we need to have been dealing with that before.

     16               MS. BENNETT:     I understand, Your Honor.

     17               THE COURT:    So, I am not going to extend the

     18   deadline at this point.

     19               MALE VOICE:    Judge, this isn't about extending the

     20   deadline or the discovery issues.         It's really about your last

     21   order.    And we have read this and Michelle has read it, we are

     22   just asking for an interpretation.

     23               THE COURT:    Okay.

     24               MALE VOICE:    It says at one point, you identified us

     25   as local counsel and then--




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      1               THE COURT:    Right.

      2               MALE VOICE:    And then you identified the Arizona

      3   counsel as counsel.

      4               THE COURT:    That's what I understood.

      5               MALE VOICE:    And then there is a section that says--

      6   Oh, I am sorry.

      7               There is a section that says, defendants and

      8   defendants' counsel shall not contact plaintiffs, plaintiffs'

      9   employees or plaintiffs' witnesses.

     10               THE COURT:    Right.

     11               MALE VOICE:    And it doesn't say defendants' local

     12   counsel.    And you have called us, our or firm, previously

     13   local counsel and referred to them--

     14               THE COURT:    Right.

     15               MALE VOICE:    So, our understanding was that we can

     16   still write and communicate and, not, obviously, with their

     17   clients, but we can communicate with their witnesses to the

     18   extent that they are not solely their witnesses?

     19               THE COURT:    Do you have a problem with that at this

     20   point?    Assuming it is not it's his client who contacts them.

     21               MS. DICKINSON:    This firm?

     22               THE COURT:    Yes.

     23               MS. DICKINSON:    I have no problem with it.

     24               THE COURT:    Okay.

     25               MALE VOICE:    We just wanted a clarification.                 Thank




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      1   you, Judge.

      2               THE COURT:    Okay.   All right, thank you.

      3               MS. DICKINSON:     Thank you, Your Honor.

      4               THE COURT:    Your client may not though.

      5               MALE VOICE:    We understand that, Your Honor.

      6               THE COURT:    Okay.   Thank you very much.

      7               MS. BENNETT:     Thank you, Your Honor.

      8               THE COURT:    I guess there is no possibility of

      9   settlement?

     10               MS. DICKINSON:     We will give the company back if

     11   they will give us our 14 million back.

     12               MALE VOICE:    Judge, we would be interested in a

     13   magistrate settlement conference.

     14               THE COURT:    Well, what I would like is for you all

     15   to discuss it first.      And if you think you can settle it, but

     16   you just need some help getting there, I would be glad to

     17   conduct one.     If your client is not interested, then there is

     18   no point.

     19               So--   But I would like you to discuss it first, see

     20   if you can narrow it a little bit.         If you think it might help

     21   things, I would be glad to do it.         Give me a call.

     22               I am going to have a lot of trouble fitting it in

     23   before Christmas, I am really booked.           But I may be able to

     24   find a day.    But just let me know.

     25               MALE VOICE:    I would just offer this.             I think it




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      1   would help our client personally to hear from a judge what

      2   kind of burden he sits.      I think it would make a big

      3   difference.

      4               THE COURT:    I would be glad to do that, as long as

      5   plaintiffs' counsel thinks that my time would be fruitful.

      6               MS. DICKINSON:     Well, you know, Your Honor, I think

      7   it would be fruitful if it would manage the defendants', not

      8   counsel, but the defendant, the clients' expectations.

      9               THE COURT:    Okay.

     10               MALE VOICE:    We're not saying we can't talk to him,

     11   Judge, but it sometimes helps.         And D.C. has mandatory, and we

     12   do this all the time.      Really, I think it really helps.

     13               THE COURT:    Okay.   Why don't you call my chambers

     14   and we will see if we can work out a date.

     15               MS. DICKINSON:     Okay, thank you.

     16               THE COURT:    Did you want to do that before the

     17   holidays or after?

     18               MR. BENNETT:     Before would be great if we can manage

     19   it, Your Honor.

     20               THE COURT:    Well, call my secretary.            And I have got

     21   maybe a couple of days here or there that I could do it.

     22               MS. DICKINSON:     Okay.

     23               THE COURT:    I just have to look because I will be

     24   gone from the 25th through the 5th or 6th.

     25               MS. DICKINSON:     Okay.




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      1                THE COURT:    But maybe I can squeeze you in.                Okay.

      2                MS. DICKINSON:     Thank you, Your Honor.

      3                THE COURT:    Okay.

      4                MALE VOICE:    Thank you, Your Honor.

      5                MR. BENNETT:     Thank you, Your Honor.

      6                NOTE:   The hearing concluded at 10:44 a.m.

      7          ------------------------------------------------

      8
                   C E R T I F I C A T E     of    T R A N S C R I P T I O N
      9

     10                I hereby certify that the foregoing is a true and

     11   accurate transcript that was typed by me from the recording

     12   provided by the court.      Any errors or omissions are due to the

     13   inability of the undersigned to hear or understand said

     14   recording.

     15

     16                Further, that I am neither counsel for, related to,

     17   nor employed by any of the parties to the above-styled action,

     18   and that I am not financially or otherwise interested in the

     19   outcome of the above-styled action.

     20

     21

     22

     23                                           /s/ Norman B. Linnell

     24                                       Norman B. Linnell

     25                                       Court Reporter - USDC/EDVA




                                              Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
